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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                            CASE NO. 1:88-cr-1007-MMP/AK

RICHARD KEITH WILLIAMS,

      Defendant.
___________________________/

                            REPORT AND RECOMMENDATION

       This matter is before the Court on Doc. 1058, Motion to Vacate Under 28 U.S.C. § 2255,

and Doc. 1059, Motion for Appropriate Relief Pursuant to 28 U.S.C. § 2255, by Richard Keith

Williams. Both motions are predicated on Blakely v. Washington.

       Defendant was sentenced to life imprisonment on June 28, 1991. Doc. 1058 at 1.

Judgment was affirmed by the Eleventh Circuit on March 14, 1995. Id. at 2. His petition for

writ of certiorari was denied, and his motion for § 2255 relief was summarily denied as untimely.

Docs. 716 & 723. On this occasion, Petitioner charges that his sentence was unconstitutionally

enhanced. Doc. 1059 at 2.

       Following its decision in Blakely v. Washington, which involved the constitutionality of

state sentencing guidelines, the United States Supreme Court determined that Blakely applies to

the Federal Sentencing Guidelines as well. United States v. Booker, ____ U.S. ____, 124 S.Ct.

2519, 159 L.Ed. 2d 442 (2004). However, the Eleventh Circuit has recently determined that

Booker is not retroactively applicable to cases on collateral review, as “Booker’s constitutional

rule falls squarely under the category of new rules of criminal procedure that do not apply

retroactively to § 2255 cases on collateral review.” Varela v. United States, 400 F.3d 864, 868
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(11th Cir. 2005).

         In light of the foregoing, it is respectfully RECOMMENDED:

         That Defendant’s motion to vacate, Doc. 1058, be DENIED;

         That Defendant’s motion for appropriate relief, Doc. 1059, is DENIED.

         IN CHAMBERS at Gainesville, Florida, this 15th day of July, 2005.




                                                s/ A. KORNBLUM
                                                ALLAN KORNBLUM
                                                UNITED STATES MAGISTRATE JUDGE




                                    NOTICE TO THE PARTIES

          A party may file specific, written objections to the proposed findings and recommendations
within 15 days after being served with a copy of this report and recommendation. A party may
respond to another party’s objections within 10 days after being served with a copy thereof. Failure
to file specific objections limits the scope of review of proposed factual findings and recommendations.




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